Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 1 of 41




                    EXHIBIT 6
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 2 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 3 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 4 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 5 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 6 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 7 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 8 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 9 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 10 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 11 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 12 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 13 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 14 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 15 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 16 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 17 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 18 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 19 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 20 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 21 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 22 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 23 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 24 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 25 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 26 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 27 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 28 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 29 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 30 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 31 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 32 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 33 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 34 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 35 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 36 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 37 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 38 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 39 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 40 of 41
Case 2:24-cv-02497-HLT-BGS   Document 1-6   Filed 10/30/24   Page 41 of 41
